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                       WITNESS LIST (X) DEFENDANT, () PLAINTIFF () GOVERNMENT
          The State of Georgia v. Mark Randall Meadows                    U. S. D. C. NORTHERN DISTRICT OF
                                                                          GEORGIA, ATLANTA DIVISION

Counsel for Plaintiff:             Counsel for Defendant:                 Case No. 1:23-CV-3621-SCJ
Anna Cross, Adam Ney, Francis      Francis Aul, Robert Bittman, Joseph
Wakeford, John Wooten, Daysha      Englert, Michael Francisco,
Young                              Emily Kelly, John Moran, George        Evidentiary Hearing Date: 8/28/2023
                                   Terwilliger

Judge Steve C. Jones                 Court Reporters: Viola Zborowski,    Courtroom Deputy: Pamela Wright
                                     Penny Coudriet


         DATE                                                        WITNESS
       8/28/2023           MARK RANDALL MEADOWS
